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                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF OKLAHOMA




In re:                                                      Chapter 11

 WHITE STAR PETROLEUM HOLDINGS,                             Case No. I9-I2521-JDL
LLC, et al,
                                                            Jointly Administered
                                Debtors.



 WHITE STAR PETROLEUM,LLC and
 WHITE STAR PETROLEUM II, LLC,


                                Plaintiffs,                 Adversary No. 19-01115-JDL

 V.



 MUFG UNION BANK, N.A., et al.,

                                Defendants.




                    STIPULATION OF DISMISSAL WITH PREJUDICE


         Pursuant to Rule 41 Fed. R. Civ. P., made applicable to this adversary proceeding by Rule

7041 Fed. R. Bank. P., Plaintiff, Tribolet Advisors LLC, in its capacity as Plan Administrator

under the Joint Chapter 11 Plan of Liquidation of White Star Petroleum Holdings, LLC and its

Debtor Affiliates, and Defendant, Nine Energy Services, Inc., as substituted for SJL Well Service,

LLC, hereby stipulate to the dismissal, with prejudice, of all of their claims and causes of action

asserted in this adversary proceeding.




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        DATED AND APPROVED this 2nd day of October,2020.

"Plaintiff


TRIBOLET ADVISORS LLC,IN ITS
CAPACITY AS PLAN ADMINISTRATOR
OF THE JOINT PLAN OF LIQUIDATION
OF WHITE STAR PETROLEUM HOLDINGS,
LLC AND ITS DEBTOR AFFILIATES



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Counselfor Tribolet Advisors LLC, in ils
capacity as Plan Administrator ofthe Joint
Flan ofLiquidation of White Star Petroleum
Holdings, LLC and Its Debtor Affiliates




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"Defendant"


NINE ENERGY SERVICES,INC.,
AS SUBSTITUTED FOR SJL WELL SERVICE,LLC




By: /s/ Robert P. Franke
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Counselfor Nine Energy Services, Inc.
as substitutedfor SJL Well Service, LLC




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